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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                           _______________________
                                                                         United States Court of Appeals
                                                                                  Fifth Circuit

                                No. 15-31094                                    FILED
                           _______________________                          April 21, 2017
                                                                            Lyle W. Cayce
                        D.C. Docket No. 2:13-CV-3935                             Clerk

BRIAN M. NEIMAN; WILLIAM KRUSE; and THE MOSHE ISSAC
FOUNDATION,
Individually and on behalf of all others similarly situated,

            Plaintiffs - Appellants
v.

T. PAUL BULMAHN; ALBERT L. REESE, JR.; KEITH R. GODWIN;
LELAND E. TATE,

            Defendants - Appellees

              Appeal from the United States District Court for the
                 Eastern District of Louisiana, New Orleans

Before HIGGINBOTHAM, ELROD, and HIGGINSON, Circuit Judges.

                               JUDGMENT

     This cause was considered on the record on appeal and was argued by
counsel.

      It is ordered and adjudged that the judgment of the District Court is
affirmed.

     IT IS FURTHER ORDERED that plaintiffs-appellants pay to
defendants-appellees the costs on appeal to be taxed by the Clerk of this Court.




                                                      Certified as a true copy and issued
                                                      as the mandate on May 15, 2017
                                                      Attest:
                                                      Clerk, U.S. Court of Appeals, Fifth Circuit
